Case 3:05-cr-00021-JPB-DJJ Document 196 Filed 04/24/08 Page 1 of 2 PageID #: 575




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


 LESLIE LEROY THOMPSON,

               Petitioner,
 v.                                                 CIVIL ACTION NO. 3:07-CV-6
                                                    CRIMINAL ACTION NO. 3:05-CR-21-1
                                                    (BAILEY)
 UNITED STATES OF AMERICA,

               Respondent.

                ORDER ADOPTING REPORT AND RECOMMENDATION
                           THAT § 2255 BE DENIED

        On this day, the above-styled matter came before the Court for consideration of the

 Report and Recommendation of United States Magistrate Judge James E. Seibert. On

 January 22, 2007, this action was referred to Magistrate Judge Seibert for submission of

 a proposed report and a recommendation (“R & R”). See Crim. Doc. 183. Magistrate

 Judge Seibert filed his R & R on April 1, 2008 [Crim. Doc. 194 / Civ. Doc. 7]. In that filing,

 the magistrate judge recommended that this Court deny the petitioner’s application under

 28 U.S.C. § 2255 [Crim. Doc. 178 / Doc. 1] because the petitioner knowingly, intelligently,

 and voluntarily waived the right to collaterally attack the conviction.

        Pursuant to 28 U.S.C. § 636 (b) (1) (c), this Court is required to make a de novo

 review of those portions of the magistrate judge’s findings to which objection is made.

 However, the Court is not required to review, under a de novo or any other standard, the

 factual or legal conclusions of the magistrate judge as to those portions of the findings or

 recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140,

 150 (1985). In addition, failure to file timely objections constitutes a waiver of de novo
Case 3:05-cr-00021-JPB-DJJ Document 196 Filed 04/24/08 Page 2 of 2 PageID #: 576




 review and the petitioner's right to appeal this Court's Order. 28 U.S.C. § 636(b)(1);

 Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v. Schronce,

 727 F.2d 91, 94 (4th Cir. 1984). Objections to Magistrate Judge Seibert’s R & R were due

 within ten (10) days of being served with a copy, pursuant to 28 U.S.C. § 636(b)(1) and

 Fed.R.Civ.P. 72(b). The docket reflects that the defendant received the R & R on April 4,

 2008. Neither party filed objections to the R & R. Accordingly, this Court will review the

 report and recommendation for clear error.

        Upon careful review of the report and recommendation, it is the opinion of this Court

 that the magistrate judge’s Report and Recommendation [Crim. Doc. 194 / Civ. Doc. 7]

 should be, and is, hereby ORDERED ADOPTED for the reasons more fully stated in the

 magistrate judge’s report.     Accordingly, the Court hereby DENIES the petitioner's

 application under 28 U.S.C. § 2255 [Crim. Doc. 178 / Civ. Doc. 1], and DISMISSES it

 with prejudice. Additionally, the petitioner’s motion to hold 2255 in abeyance [Crim. Doc.

 184] is DENIED.

        It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record and to

 mail a true copy to the pro se petitioner.

        DATED: April 24, 2008.
